      Case 1:21-cr-00048-JRH-BKE Document 59-1 Filed 07/14/22 Page 1 of 2




                    UI\IITED STATES DISTRICT COURT
                    SOUTHENN DISTRICT OF GEOBGIA
                            AUGUSTA DTYISION

UMTED STATES OF AMERICA             )     CASE NO: 1:2I-CR-048
                                    )
v.)
                                    )
sAlvrMrE LEE    SIAS                )




                                  EX. A
        Case 1:21-cr-00048-JRH-BKE Document 59-1 Filed 07/14/22 Page 2 of 2




                                                                                    702 SW 8th Street (MS 0405)
                                                                                    Bentonville, AR 72716-0405

 Legal
Date:    July 12, 2022


To:      Charles E. Mckee II                              From:    Hunter Main
         One 10th street                                           Investigative Manager II
         Suite 630                                                 Wal-Mart Inc. Global Investigations
         Augusta, Georgia 30901                                    2914 S I Street
                                                                   Bentonville, AR 72716-0405

RE: 2020-11-00431

                 CERTIFICATE OF AUTHENTICITY OF DOMESTIC BUSINESS RECORDS
                        PURSUANT TO FEDERAL RULE OF EVIDENCE 902(11)

         I, Hunter Main, certify that I am employed by Wal-Mart Inc. and that my official title is Investigative
Manager. I am a custodian of records for Wal-Mart Inc. I state that each of the records attached hereto is
the original record, or a true duplicate of the original record, in the custody of Wal-Mart Inc. and that I am the
custodian of the attached records.
         I further state that:
         1. All records attached to this certificate were made at or near the time of the occurrence of the
            matters set forth by, or from information transmitted by, a person with knowledge of those
            matters;
         2. Such records were kept in the course of a regularly conducted business activity of Wal-Mart
            Stores, Inc.; and
         3. Such records were made by Wal-Mart Inc. as a regular practice.
         I declare that under penalty of perjury under the laws of the United States of America that the
         foregoing is true and correct, and that this certificate is intended to satisfy the requirements of Rule
         902(11) of the Federal Rules of Evidence

                                                            Hunter Main
                                                            Hunter Main
                                                            Investigative Manager
